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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

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WESTERN DIVISION

WILLIAM T. MOORER, )
)
Plaintifi', )
)

VS. ) Civil Action No. 99-2043 D
)
BAPTIST MEMORIAL HEALTH )
CARE SYSTEM, BAPTIST )
MEMORIAL HEALTH CARE )
CORPORATION, CATHY M. HILL, )
And JOHN N. ROBBINS, )
)
Defendants. )

 

ORDER SETTING ASIDE JUDGMENT AND
DISMISSING ACTION WITH PREJUDICE

 

Pursuant to Rules 41 (a) and 60(b)(5) of the Federal Rules ofCivil Procedure, the Parties have

jointly advised the Court, as evidenced by the signatures of their attorneys herein below, that all disputes

among them have been resolved and the Paities jointly move this District Court to set aside the Judgment

entered in this case on June 3, 2003, and to dismiss this action with prejudice It appears that this motion

is well taken and for good cause. Accordingly, the J unc 3, 2003 Judgment is hereby set aside and this

action is dismissed with prejudich w

U{.s DISTRICT/count JUDGE

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JU§TJN/s. GILBEF(T, ESQ.

Y;Plaintiff William T. Moorer

PAUL E. PRATI-IER, ESQ.

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Baptist Memorial Health Care System,
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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 139 in
case 2:99-CV-02043 Was distributed by faX, mail, or direct printing on
June 20, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

